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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-294V
                                          UNPUBLISHED


    LEONARD ARRANT,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: September 3, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus
    HUMAN SERVICES,                                             Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Brachial Neuritis; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


William E. Cochran, Jr., Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN , for
petitioner.

Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

       On February 25, 2019, Leonard Arrant filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that as a result of his September 15, 2016 Tetanus
diphtheria acellular pertussis (Tdap) vaccination he suffered a Table injury of Shoulder
Injury Related to Vaccine Administration (SIRVA), or alternatively a Table injury of
brachial neuritis, or a shoulder injury caused in fact by vaccination. Petition at 1;
Stipulation, filed at September 2, 2020, ¶¶ 2, 4. Petitioner further alleges the vaccine was
administered within the United States, that he suffered the residual effects of his injury for
more than six months, and that there has been no prior award or settlement of a civil
action on his behalf as a result of his injury. Stipulation at ¶¶ 3-5; see Petition at ¶¶2, 21.
“Respondent denies that petitioner sustained a SIRVA Table injury or a brachial neuritis

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   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Table injury; denies that the vaccine caused petitioner’s alleged shoulder injuries, or any
other injury; and denies that his current condition is a sequelae of a vaccine-related
injury.” Stipulation at ¶ 6.

       Nevertheless, on September 2, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $47,780.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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